
933 So.2d 132 (2006)
Ann H. Womer BENJAMIN, Successor to J. Lee Covington, II, Ohio Superintendent of Insurance as Liquidator of Credit General Insurance Company
v.
E.J. HALVERSON &amp; ASSOCIATES INC.
No. 2006-C-0678.
Supreme Court of Louisiana.
June 30, 2006.
In re E. Halverson &amp; Associates Inc.; Defendant; Applying for Writ of Certiorari and/or Review, Parish of Jefferson, 24th Judicial District Court Div. D, No. 603-433; to the Court of Appeal, Fifth Circuit, No. 05-CA-772.
Denied.
